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AO 91 (Rev. 11/11) Criminal Complaint


                                    United States District Court
                                                            for the                                    AUG 2 3 2021
                                                 Eastern District of Texas                        Clerk, U.S. District Court
                                                                                                  Eastern District of Texas

                 United States of America                      )
                               v.                              )
                                                               ) Case No. 4:21-MJ-664
                MUHAMMAD ASIM SHAMIM
                                                               )
                                                               )
                                                               )
                                                               )
                          Defendant(s)


                                            CRIMINAL COMPLAINT
         I, the complainant in t is case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      July 20, 2020              n the county of               Collin in the

      Eastern District of Texas , the defendant(s) violated:

            Code Section Offense Description
 18 U.S.C. § 1341 Mail Fraud




         This criminal complaint is based on these facts:

See the attached affidavit of Senior Special Agent Stephen Dudek, USSS




             Continued on the attached sheet.




                                                                           Senior Special Agent Stephen Dudek, USSS
                                                                                        Printed name and title


Sworn to before me and signed in my presence.



Date: 8/23/2021


City and state: Plano, Texas                                            Kimberly C. Priest Johnson, U.S. Magistrate Judge
                                                                                        Printed name and title
